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15                        UNITED STATES BANKRUPTCY COURT
                 CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
16

17    In re:                                        Case No. 2:17-bk-22432-WB

18    Point.360, a California corporation,          Chapter 11

19             Debtor.                              DECLARATION OF PETER BURTON IN
                                                    SUPPORT OF MEDLEY/VDMS PLAN
20                                                  PROPONENTS’ MEMORANDUM OF
                                                    LAW (I) IN SUPPORT OF
21                                                  CONFIRMATION OF PLAN OF
                                                    REORGANIZATION JOINTLY
22                                                  PROPOSED BY MEDLEY CAPITAL
                                                    CORPORATION, MEDLEY
23                                                  OPPORTUNITY FUND II LP AND
                                                    VISUAL DATA MEDIA SERVICES, INC.
24                                                  AND (II) IN OBJECTION TO
                                                    CONFIRMATION OF DEBTOR’S
25                                                  SECOND AMENDED CHAPTER 11 PLAN
                                                    OF REORGANIZATION
26
                                                    Date: May 31, 2019
27                                                  Time: 10:00 am
                                                    Place: Courtroom 1375; Judge Brand
28
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 1                                 DECLARATION OF PETER BURTON

 2          I, Peter Burton, declare as follows:

 3          1.      I am a Principal of Medley Capital Corporation (“MCC”) and Medley Opportunity

 4   Fund II LP (“MOF” and, together with MCC, “Medley”). I have personal knowledge of the facts

 5   stated in this declaration, and could and would testify to these facts if called upon to do so.

 6          2.      This declaration is offered in support of the Medley/VDMS Plan Proponents’

 7   Memorandum of Law (I) In Support of Confirmation of Plan of Reorganization Jointly Proposed by

 8   Medley Capital Corporation, Medley Opportunity Fund II LP and Visual Data Media Services, Inc.

 9   [With Minor Modifications 2/21/19] and (II) In Objection to Confirmation of Debtor’s Second

10   Amended Chapter 11 Plan of Reorganization [With Minor Modifications] (the “Medley/VDMS

11   Confirmation Brief”), 1 filed concurrently herewith.

12          3.      In July 2015, the Debtor, Medley, and others were parties to an Article 9 foreclosure

13   sale that included the following agreements and documents: 2

14                  a.      the Sale Agreement Pursuant to Article 9 of the Uniform Commercial Code,
                            dated as of July 8, 2015, among the Debtor, Bagerdjian, the MVF Seller and the
15                          MVF Lenders (Exhibit A hereto);
16
                    b.      a General Assignment and Bill of Sale, dated as of July 8, 2015, by MCC
17                          (Exhibit B hereto);

18                  c.      a Warrant to Purchase Shares of Common Stock of Point.360, dated as of July
                            2015, by and between the Debtor and MCC (Exhibit C hereto);
19
                    d.      a Warrant to Purchase Shares of Common Stock of Point.360, dated as of July
20                          2015, by and between the Debtor and MOF (Exhibit D hereto);
21                  e.      a Warrant to Purchase Shares of Common Stock of Point.360, dated as of July
22                          2015, by and between the Debtor and Congruent Credit Opportunities Fund II
                            (Exhibit E hereto);
23

24

25

26   1
       Capitalized terms not defined herein shall have the meanings ascribed to them in the Medley/VDMS
     Confirmation Brief.
27   2
       The documents attached to this declaration as Exhibits A-S were previously attached as exhibits to
     my declaration in Adv. Pro. No. 2:18-ap-01435-WB at Docket No. 10. I am providing them again in
28   the interest of completeness of the record in connection with confirmation.

                                                         2
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 1                 f.     a Warrant to Purchase Shares of Common Stock of Point.360, dated as of July
                          2015, by and between the Debtor and Main Street Equity Interests, Inc. (Exhibit
 2                        F hereto);
 3
                   g.     a Registration Rights Agreement, dated as of July 8, 2015, by and among the
 4                        Debtor, MCC, MOF, Main Street and Congruent (Exhibit G hereto);

 5                 h.     a Letter Agreement, dated as of July 8, 2015, by and among MCC, MOF,
                          Congruent and Main Street (Exhibit H hereto);
 6
                   i.     a Landlord Waiver and Consent, dated as of July 9, 2015, delivered by MCC to
 7                        CA-Colorado Center, L.L.C. (Exhibit I hereto); and
 8                 j.     a Landlord Waiver and Consent, dated as of July 9, 2015, delivered by MCC to
 9                        Walt Disney World Co. (Exhibit J hereto).

10          4.     In July 2015, the Debtor and Medley were parties to term loan financing that included
11   the following agreements and documents:
12
                   k.     the Term Loan Agreement, dated as of July 8, 2015, among the Debtor, MCC
13                        and MOF (the “Term Loan Agreement”) (Exhibit K hereto);

14                 l.     the Security Agreement, dated as of July 8, 2015, among the Debtor, MCC and
                          MOF (Exhibit L hereto);
15
                   m.     a Promissory Note, dated as of July 8, 2015, issued by the Debtor to MCC
16
                          (Exhibit M hereto);
17
                   n.     a Promissory Note, dated as of July 8, 2015, issued by the Debtor to MOF
18                        (Exhibit N hereto);

19                 o.     a Warrant to Purchase Shares of Common Stock of Point.360, dated as of July
                          2015, by and between the Debtor and MCC (Exhibit O hereto);
20
                   p.     a Warrant to Purchase Shares of Common Stock of Point.360, dated as of July
21                        2015, by and between the Debtor and MOF II (Exhibit P hereto);
22
                   q.     the Legal Opinion of TroyGould, dated as of July 8, 2015, delivered to MCC
23                        (Exhibit Q hereto);

24                 r.     a Perfection Certificate of Point.360, dated as of July 8, 2015, delivered to MCC
                          and MOF (Exhibit R hereto); and
25
                   s.     UCC-1 Financing Statements filed against the Debtor in favor of MCC and
26                        MOF (Exhibit S hereto).
27

28


                                                      3
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 1          5.      The Debtor borrowed all of the Term Loans under the Term Loan Agreement.

 2   Medley’s records indicate that, prior to the Petition Date, the Debtor gave written election to have

 3   interest otherwise payable in cash capitalized and added to the principal of the term loans (“PIK

 4   Interest”), pursuant to section 2 of the Term Loan Agreement, for the months of March 2017 through

 5   August 2017. Medley’s records indicate as of the Petition Date, the Debtor was in default and indebted

 6   to Medley in an aggregate principal amount of $6,000,000, together with an additional $572,764.28 in

 7   accrued and unpaid prepetition interest, of which $443,866.61 constitutes PIK Interest.

 8          6.      Since the Petition Date, the Debtor has not paid interest on the Term Loans or given

 9   written notice of an election to PIK Interest. Medley’s records indicate that as of June 30, 2019, the

10   Debtor owes Medley no less than $1,288,100.19 in postpetition interest.

11          7.      Pursuant to section 21 of the Term Loan Agreement, the Debtor is obligated to

12   reimburse Medley for its legal fees and expenses. Medley’s total legal fees and expenses in connection

13   with this matter through March 31, 2019 were no less than $2,243,555.71. As Medley’s legal fees and

14   expenses continue to accrue, I reserve the right to update this amount as of a date closer to the

15   confirmation hearing.

16          8.      As such, the Debtor is in default under the Term Loan Agreement and, assuming a

17   Debtor Plan Effective Date of June 30, 2019, must cure (a) $128,897.67 in prepetition interest, 3 (b)

18   $1,288,100.19 in postpetition interest and (c) $2,243,555.71 in legal fees and costs.

19          9.      Although interest, fees and expenses (including legal fees and expenses) continue to

20   accrue and remain unpaid, Medley estimates that on the Medley Loan Maturity Date (i.e., July 8,

21   2020), assuming no payments are made beforehand, the Debtor will be required to pay Medley no less

22   than $8,616,922.47 (plus interest, fees and expenses (including legal fees and expenses) and other

23   obligations owing to Medley that continue to accrue). 4

24

25                                         [Signature page follows]

26

27   3
      The difference between $572,764.28 and $443,866.61 in prepetition PIK Interest.
     4
      Medley has utilized a 3-month LIBOR forward curve from Bloomberg as of September 28, 2018 to
28   determine the 3-month LIBOR rates beyond May 31, 2019. See Term Loan Agreement, §§ 1(a), 2.

                                                        4
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